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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CHRISTINA C. FIGUEROA, et al.,                   §
Individually and on Behalf of                    §
All Others Similarly Situated,                   §
                                                 §
       Plaintiffs,                               §
                                                 §   CIVIL ACTION NO. 4:18-cv-01261
v.                                               §
                                                 §
NORRED & ASSOCIATES, INC.,                       §
                                                 §
       Defendant.                                §

                                    PROTECTIVE ORDER

       Upon motion of all the parties for a Protective Order pursuant to Rule 26(c) of the
Federal Rules of Civil Procedure, IT IS HEREBY ORDERED that:

1.      All Classified Information produced or exchanged in the course of this litigation shall be
        used solely for the purpose of preparation and trial of this litigation and for no other
        purpose whatsoever and shall not be disclosed to any person except in accordance with
        the terms hereof.

2.      “Classified Information,” as used herein, means any information of any type, kind or
        character which is designated as “Confidential” or “For Counsel Only” (or “Attorneys’
        Eyes Only”) by any of the supplying or receiving parties, whether it be document,
        information contained in a document, information revealed during a deposition,
        information revealed in an interrogatory answer or otherwise. In designating information
        as “Confidential” or “For Counsel Only” (or “Attorney’ Eyes Only”), a party will make
        such designation only as to the information that it in good faith believes contains
        confidential information.

3.      “Qualified Persons,” as used herein means:

        a.      Attorneys of record for the parties in this litigation and employees of such
                attorneys to whom it is necessary that the material be shown for purposes of this
                litigation;

        b.      Actual or potential independent technical experts or consultants who have
                designated in writing by notice to all counsel prior to any disclosure of
                “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”) information to
                such persons and who have signed document agreeing to be bound by the terms of


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               this protective order (such signed document to be filed with the Clerk of this
               Court by the attorney retaining such person);

        c.     The party or one party representative (in cases where the party is a legal entity)
               who shall be designated in writing by the party prior to any disclosure of
               “Confidential” information to such person and who shall sign a document
               agreeing to be bound by the terms of the protective order (such signed document
               to be filed with the Clerk of this Court by the party designating such person); and

        d.     If this Court so elects, any other person may be designated as Qualified Person by
               order of this Court after notice and hearing to all parties.

4.      Documents produced in this action may be designated by any party or parties as
        “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”) information by
        marking each page of the document(s) so designated with a stamp stating “Confidential”
        or “For Counsel Only” (or “Attorneys’ Eyes Only”).

        In lieu of marking the original of a document, if the original is not produced, the
        designating party may mark the copies that are produced or exchanged. Original shall be
        preserved for inspection.

5.      Information disclosed at (a) the deposition of a party or one of its present or former
        officers, directors, employees, agents or independent experts retained by counsel for the
        purpose of this litigation, or (b) the deposition of a third party (which information
        pertains to a party) may be designated by any party as “Confidential” or “For Counsel
        Only” (or “Attorneys’ Eyes Only”) information by indicating on the record at the
        deposition that the testimony is “Confidential” or “For Counsel Only” (or “Attorneys’
        Eyes Only”) and is subject to the provisions of this Order.

        Any party may also designate information disclosed at such deposition as “Confidential”
        or “For Counsel Only” (or “Attorneys’ Eyes Only”) by notifying all of the parties in
        writing within thirty (30) days of receipt of the transcript of the specific pages and lines
        of the transcript which should be treated as “Confidential” or “For Counsel Only” (or
        “Attorneys’ Eyes Only”) thereafter. Each party shall attach a copy of such written notice
        or notices to the face of the transcript and each copy thereof in his possession, custody or
        control. All deposition transcripts shall be treated as “Confidential” or “For Counsel
        Only” (or “Attorneys’ Eyes Only”) for a period of thirty (30) days after the receipt of the
        transcript.

        To the extent possible, the court reporter shall segregate into separate transcripts
        information designated as “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes
        Only”) with blank, consecutively numbered pages being provided in a nondesignated
        main transcript. The separate transcript containing “Confidential” or “For Counsel Only”
        (or “Attorneys’ Eyes Only”) information shall have page numbers that correspond to the
        blank pages in the main script.


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6.      a.     “Confidential” information shall not be disclosed or made available by the
               receiving party to persons other than Qualified Persons.               Information
               designated as “For Counsel Only” (or “Attorneys’ Eyes Only”) shall be
               restricted in circulation to Qualified Persons described in Paragraphs 3(a) and (b)
               above.

        b.     Copies of “For Counsel Only” (or “Attorneys’ Eyes Only”) information provided
               to a receiving party shall be maintained in the offices of outside counsel for
               Plaintiff(s) and Defendant(s). Any documents produced in this litigation,
               regardless of classification, which are provided to Qualified Persons of Paragraph
               3(b) above, shall be maintained only at the offices of such Qualified Person and
               only working copies shall be made of any such documents. Copies of documents
               produced under this Protective Order may be made, or exhibits prepared by
               independent copy services printers or illustrators for the purpose of this litigation.

        c.     Each party’s outside counsel shall maintain a log of all copies of “For Counsel
               Only” (or “Attorneys’ Eyes Only”) documents which are delivered to any one or
               more Qualified Persons of Paragraph 3 above.

7.      Documents previously produced shall be retroactively designated by notice in writing of
        the designated class of each document by Bates number within thirty (30) days of the
        entry of this order. Documents unintentionally produced without designation as
        “Confidential” may be retroactively designated in the same manner and shall be treated
        appropriately from the date written notice of the designation is provided to the receiving
        party.

        Documents to be inspected shall be treated as “For Counsel Only” (or “Attorneys’ Eyes
        Only”) during inspection. At the time of copying for the receiving parties, such inspected
        documents shall be stamped prominently “Confidential” or “For Counsel Only” (or
        “Attorneys’ Eyes Only”) by the producing party.

8.      Nothing herein shall prevent disclosure beyond the terms of this order if each party
        designating the information as “Confidential” or “For Counsel Only” (or “Attorneys’
        Eyes Only”) consents to such disclosure or, if the court, after notice to all affected parties,
        orders such disclosures. Nor shall anything herein prevent any counsel of record from
        utilizing “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”) information
        in the examination or cross-examination of any person who is indicated on the document
        as being an author, source of recipient of the “Confidential” or “For Counsel Only” (or
        “Attorneys’ Eyes Only”) information, irrespective of which party produced such
        information.

9.      A party shall note be obligated to challenge the propriety of a designation as
        “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”) a the time made, and
        a failure to do so shall not preclude a subsequent challenge thereto. In the event any
        party to this litigation disagrees at any state of these proceedings with the designation by
        the designating party of any information as “Confidential” or “For Counsel Only” (or

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        “Attorneys’ Eyes Only”) or the designation of any person as a Qualified Person, the
        parties shall first try to resolve such dispute in a good faith on an informal basis, such as
        by production of redacted copies. If the dispute cannot be resolved, the objecting party
        may invoke this Protective Order by objecting in writing to the party who has designated
        the document information as “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes
        Only”). The designating party shall be required to move the Court for an order
        preserving the designated status of such information within fourteen (14) days of receipt
        of the written objection, and failure to do so shall constitute a termination of the restricted
        status of such item.

        The parties may, by stipulation, provide for exceptions to this order and any party may
        seek an order of this Court modifying this Protective Order.

10.     Nothing shall be designated as “For Counsel Only” (or “Attorneys’ Eyes Only”)
        information except information of the most sensitive nature which, if disclosed to persons
        of expertise in the area, would reveal significant technical or business advantages of the
        producing or designating party, and which includes as a major portion of subject matter
        which his believed to be unknown to the opposing party or parties, or any of the
        employees of the corporate parties. Nothing shall be regarded as “Confidential” or “For
        Counsel Only” (or “Attorneys’ Eyes Only”) information if it is information that either:

        a.     is in the public domain at the time of disclosure, as evidenced by a written
               document;

        b.     becomes part of the public domain through no fault of the other party, as
               evidenced by a written document;

        c.     the receiving party can show by written document that the information was in its
               rightful and lawful possession at the time of disclosure; or

        d.     the receiving party lawfully receives such information at a later date from a third
               party without restriction as to disclosure, provided such third party has the right to
               make the disclosure to the receiving party.

11.     In the event a party wishes to use any “Confidential” or “For Counsel Only” (or
        “Attorneys’ Eyes Only”) information in any affidavits, briefs, memoranda of law, or
        other papers filed in Court in this litigation, such “Confidential” or “For Counsel Only”
        (or “Attorneys’ Eyes Only”) information used therein shall be filed under seal with the
        Court.
12.     The Clerk of this Court is directed to maintain under the seal all documents and
        transcripts of deposition testimony and answers to interrogatories, admissions and other
        pleadings filed under seal of this Court in this litigation which have been designated in
        whole or in part as “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”)
        information by a party to this action.



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13.     Unless otherwise agreed to in writing by the parties ordered by the Court, all proceedings
        involving or relating to documents or any other information shall be subject to the
        provisions of this order.

14.     Within one hundred (120) days after conclusion of this litigation and any appeal thereof,
        any document and all reproductions of documents produced by a party in the possession
        of any of the persons qualified under Paragraph 3(a) through (d) shall be returned to the
        producing party, except as this Court may otherwise order or to the extent such
        information was used as evidence at the trial. As far as the provisions of any protective
        orders entered in this action restrict the communication and the use of the documents
        produced thereunder, such orders shall continue to be binding after the conclusion of this
        litigation, except (a) there shall be no restriction on documents that are used as exhibits in
        Court, unless such exhibits were filed under seal, and (b) a party may seek either the
        written permission of the producing party or order the Court with respect to dissolution or
        modification of such protective orders.

15.     This order shall not bar any attorney herein in the course of rendering advice to his client
        with respect to this litigation form conveying to any party client his evaluation in general
        way of “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”) information
        produced or exchanged herein; provided, however, that in rendering such advice and
        otherwise communicating with his client, the attorney shall not disclose the specific
        contents of any “Confidential” or “For Counsel Only” (or “Attorneys’ Eyes Only”)
        information produced by another party herein, which disclosure would be contrary to the
        terms of this Protective Order.

16.     Any party designating any person as a Qualified Person shall have the duty to reasonably
        ensure that such person observes the terms of this Protective Order and shall be
        responsible upon breach of such duty for the failure of such person to observe the terms
        of this Protective Order.

        SIGNED this the ______ day of ___________________________, 2018.



                                               ___________________________________
                                               Judge




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AGREED:

Attorneys for Plaintiffs:                   Attorneys for Defendant:


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